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                    EXHIBIT F
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                          Search Terms Defendant Has Already Searched

From Plaintiff’s June 30th proposed list:
(note: Plaintiff’s numbers have been used)

1) jef*
2) geof*
3) epst! !n*
4) jeevacation*
5) j* w/2 *jep*
6) j* w/2 *jeep*
7) roberts*
8) g!!ff!!*
9) virginia*
10) jenna*
11) jena*
12) genna*



22) massage*
23) masseur*
24) therapist*
26) mindspring*




42) *copter*
43) chopper*
44) pilot*
45) manifest*
46) log*
47) flight*
48) passport*
52) state* /3 attorney*




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57) al!n*
58) all!n*
59) dersh*

61) alandersh*




78) police*
79) cop*
80) fbi*
81) federal* w/3 bur*
82) bur* w/8 inves! *
83) sex*
84) abuse*
85) toy*
86) dildo*
87) strap* w/3 on*
88) vibr*
89) sm* w/3 101 *
90) slave*
91) erotic*
92) servitude*
95) high* w/3 school*
96) secondary* w/3 school*
97) campus*


100) licen!e*
101) assault*
102) juvenile*
103) seal*
104) joint* w/3 defen*
105) jda
106) roadhouse*

108) illegal*
109) immune*
110) prosecut*
111) law* w/3 enforc*
112) jane* w/3 *doe*
117) model*
118) actress*
123) vanity* w/ 3 fair*
342) underage*

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343) under!age*
344) minor*
345) daily* w/10 mail*
346) daily* w/10 news*
347) lie*
348) obvious* w/10 lie*
349) sex w/3 toy*
350) nipple*
351) schoolgirl
352) school w/3 girl
353) us w/3 att*
354) United w/3 states w/3 att*
356) Pedophil*
357) Paedophil*
359) Traffic*
362) Masturbate*
363) Ejaculate*
364) Masseuse*

From Plaintiff’s July 20 proposed list
       Alessi
    




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